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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO
                                Judge Christine M. Arguello


   Criminal Action No. 20-cr-00266-CMA-GPG-06

   UNITED STATES OF AMERICA,

          Plaintiff,

   v.

   6. GILBERTO CRUZ-GALVAN,

          Defendant.


    ORDER ADOPTING AND AFFIRMING SEPTEMBER 27, 2021 RECOMMENDATION
                  OF UNITED STATES MAGISTRATE JUDGE


         This matter is before the Court on the Recommendation of Magistrate Judge

   Gallagher (Doc. # 203). The Court notes that pursuant to the terms of the written plea

   agreement, Defendant entered a plea of guilty to Count One of the Information charging

   a violation of 21 U.S.C. § 846, conspiracy to possess with the intent to distribute a

   mixture and substance containing a detectable amount of marijuana, a Schedule 1

   controlled substance. The Court also notes that Defendant consented to Magistrate

   Judge Gallagher advising him with regard to his Constitutional rights and his rights

   pursuant to Rule 11 of the Federal Rules of Criminal Procedure. Magistrate Judge

   Gallagher conducted the Rule 11 hearing on September 27, 2021, at which time he

   appropriately advised the Defendant of his rights and made inquiry as to the

   Defendant’s understanding of the charges, the terms of the plea agreement, the


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   voluntariness of his plea, and of the consequences of pleading guilty. Based on that

   hearing Magistrate Judge Gallagher recommended that the District Court Judge accept

   Defendant's plea of guilty to Count One of the Information.

         Neither the Defendant nor the Government has filed any objections to the

   Magistrate Judge’s Recommendation; therefore, it is ORDERED THAT:

            1. Court Exhibits 1 and 2 are accepted and admitted.

            2. The plea as made in open court on September 27, 2021 is accepted and
               the Defendant is adjudged guilty of violation of 21 U.S.C. § 846.


         DATED: October 13, 2021


                                     BY THE COURT:


                                     ___________________________________
                                     CHRISTINE M. ARGUELLO
                                     United States District Judge




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